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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


United States of America,                               Criminal No. 17-64 (DWF/KMM)

                    Plaintiff,

v.                                                                               ORDER

Edward S. Adams,

                    Defendant.


      This matter is before the Court upon Plaintiff United States of America’s (“the

government”) appeal (Doc. No. 226) of Magistrate Judge Katherine M. Menendez’s

October 27, 2018 Order (Doc. No. 225) insofar as the Magistrate Judge denied in part and

granted in part the government’s motion contesting the application of privilege. In

particular, the government objects to the Magistrate Judge’s denial of the government’s

privilege challenge regarding seven e-mail communications between Defendant

Edward S. Adams and his accountants, the Murry firm (the “Murry e-mails”), who were

retained by Defendant’s tax counsel. Defendant opposes the government’s appeal. (Doc.

No. 228.)

      The Court must modify or set aside any portion of the Magistrate Judge’s order

found to be clearly erroneous or contrary to law. See 28 U.S.C. § 636(b)(1)(A); Fed. R.

Civ. P. 72(a); Local Rule 72.2(a). This is an “extremely deferential standard.” Reko v.

Creative Promotions, Inc., 70 F. Supp. 2d 1005, 1007 (D. Minn. 1999). “A finding is

‘clearly erroneous’ when although there is evidence to support it, the reviewing court on
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the entire evidence is left with the definite and firm conviction that a mistake has been

committed.” Chakales v. Comm’r of Internal Revenue, 79 F.3d 726, 728 (8th Cir. 1996)

(quoting United States v. United States Gypsum Co., 333 U.S. 364, 395 (1948)).

However, the government argues that its objections are subject to a de novo review

because the practical effect of the Magistrate Judge’s ruling is the suppression of the

Murry e-mails. The Court need not decide which standard applies, however, because the

Court’s decision would be the same under either standard.

       The government submits that Magistrate Judge Menendez’s Order did not address

the government’s arguments regarding the primary purpose of the Murry e-mails, and that

according to persuasive out-of-circuit caselaw, this omission is important because the

privilege only applies if the communications were for the sole or primary purpose of

obtaining legal advice. In addition, the government argues that Defendant cannot

properly claim privilege over all of the underlying details that support the figures on his

amended returns because if the Murry e-mails contain underlying details that form the

basis for totals reported on tax returns, they are part of the data revealed (even if

unpublished) and any privilege was waived. Finally, the government takes issue with

Magistrate Judge Menendez’s rejection of the government’s crime-fraud argument. The

government submits that Magistrate Judge Menendez did not address the disparity

between draft returns produced by the Murry firm and the final filed versions. The

government argues that the disparity shows that Defendant’s tax obligation was reduced

by at least $200,000 by misrepresenting the nature of certain transactions.

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       Defendant argues that the government’s objection is without merit. Defendant

points out that these same documents were considered by the Court in camera in

connection to prior briefing regarding the assertion of the attorney-client privilege and

that the Court previously recognized the privileged nature of the communications with

accountants that were retained by a tax attorney for the purpose of rendering legal advice

to Defendant. Defendant further argues that the record fully supports Magistrate Judge

Menendez’s finding that the Murry e-mails are covered by the attorney-client privilege,

the filing of amended returns did not waive that privilege as to the Murry e-mails, and

that the government failed to make the ultimate showing that the crime-fraud exception

applies.

       After careful consideration of the government’s objections and the parties’

arguments, the Court finds that Magistrate Judge Menendez’s Order is neither clearly

erroneous nor contrary to law. In addition, even if the Court had reviewed the Order

de novo, it would have reached the same conclusion. Accordingly, the Court denies

Defendant’s appeal and affirms Magistrate Judge Menendez’s October 27, 2018 Order in

all respects.

       Thus, IT IS HEREBY ORDERED that:

       1.       Plaintiff United States of America’s appeal (Doc. No. [226]) of Magistrate

Judge Katherine M. Menendez’s October 27, 2018 Order is OVERRULED.




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      2.    Magistrate Judge Katherine M. Menendez’s October 27, 2018 Order

(Doc. No. [225]) is AFFIRMED.

Dated: December 10, 2018        s/Donovan W. Frank
                                DONOVAN W. FRANK
                                United States District Judge




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